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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 AMERICA FIRST LEGAL FOUNDATION,

                Plaintiff,

        v.
                                                           Civil Action No. 23-3680 (CKK)
 UNITED STATES FOOD AND DRUG
 ADMINISTRATION, et al.,

                Defendants.


                                   JOINT STATUS REPORT

       Pursuant to the Court’s May 20, 2024, Minute Order, Plaintiff America First Legal

Foundation and Defendants U.S. Food and Drug Administration (“FDA”) and U.S. Department of

Health and Human Services (the “Department” and, with “FDA,” the “Defendants”), by and

through their respective counsel, submit the following joint status report in this action.

       This is an action brought under the Freedom of Information Act (“FOIA”) in which

Plaintiff submitted three FOIA requests: two FOIA requests to the Department and FDA on August

8, 2022, seeking records largely relating to hydroxychloroquine (FOIA request 2022-01072-FOIA-

OS and 2022-5862); and one FOIA request to the Department on September 14, 2022, seeking

records largely relating to ivermectin (FOIA request 2022-01186-FOIA-OS).

       Since the last status report (ECF No. 8), the Department made productions on May 16,

2024, and July 1, 2024 and the FDA made a production on May 31, 2024, and June 28, 2024.

Defendants expect to make additional productions on a monthly basis.

       As part of the processing of records, both the Department and the FDA have sent records

out for consultation.
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       Pursuant to the Court’s May 20, 2024 Minute Order, the next Joint Status Report in this

case is due on Friday, September 13, 2024

Dated: July 15, 2024
       Washington, DC
                                            Respectfully submitted,

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                                            United States Attorney

                                            BRIAN P. HUDAK
                                            Chief, Civil Division


                                            By:/s/ Brian J. Levy
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